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                     1   ALAN R. SMITH, ESQ., #1449
                         HOLLY E. ESTES, ESQ. #11797                                      Electronically Filed
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                     5
                         Former Counsel For Debtors
                     6
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                     8
                                                       UNITED STATES BANKRUPTCY COURT
                     9
                                                                    DISTRICT OF NEVADA
                 10
                                                                              —ooOoo—
                 11
                         In re:                                                     Case No. BK-N-14-50333-BTB
                 12                                                                 Chapter 11
                         ANTHONY THOMAS and WENDI
                 13      THOMAS,
                 14            Debtors.                                             Case No. BK-N-14-50331-BTB
                         _______________________________/                           Chapter 11
                 15
                         In re:                                                     [Jointly Administered]
                 16
                         AT EMERALD, LLC,                                           REPLY TO OBJECTION TO
                 17                                                                 APPLICATION FOR
                                  Debtor.                                           COMPENSATION OF ATTORNEY
                 18                                                                 FOR DEBTORS (ALAN R. SMITH)
                                                                                    AND JOINDER
                 19
                                                                                    Hearing Date:       December 17, 2014
                 20      ________________________________/                          Hearing Time:       10:00 a.m.
                 21               Applicant, ALAN R. SMITH, ESQ., hereby submits the following reply to the
                 22      Objection To Application For Compensation Of Attorney for Debtors (Alan R. Smith)
                 23      filed by Kenmark Ventures, LLC (“Kenmark”) [Doc. 221] on November 24, 2014, and
                 24      the Joinder With Kenmark Ventures, LLC’s Objection To Application For Compensation
                 25      Of Attorney For Debtors (Alan R. Smith) filed by John Beach, Trustee of the Beach
                 26      Living Trust dated January 22, 1999 (“Beach”) [Doc. 224] filed December 3, 2014.
                 27      ///
                 28      ///
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                     1                                         POINTS AND AUTHORITIES
                     2            In Applicant’s First and Final Application By Attorney For the Debtor (Anthony
                     3   Thomas and Wendi Thomas)To Approve Compensation [DE 231], Supplement To First
                     4   And Final Application By Attorney For Debtor To Approve Compensation (Alan R.
                     5   Smith) [DE 226], Applicant’s First and Final Application By Attorney for the Debtor
                     6   (AT Emerald) To Approve Compensation [DE 79], and Supplement To First And Final
                     7   Application By Attorney For Debtor To Approve Compensation (Alan R. Smith) [DE
                     8   89] (together the “Fee Applications”), Applicant requests approval for fees and costs in
                     9   the amount of $36,593.08 and $45,296.28 respectively. Kenmark and Beach do not
                 10      object to the reasonableness of Applicant’s fees. Instead, Kenmark and Beach object to
                 11      Applicant’s Fee Applications alleging that the Debtors filed their cases in bad faith
                 12      because there was no possibility for confirmation of a plan without the sale of the
                 13      Thomas Emerald, that Applicant allegedly failed to conduct due diligence, took
                 14      unjustifiable positions regarding the Debtors, and took actions that benefitted the
                 15      Debtors at the expense of the creditors and the estates. As discussed below, Kenmark’s
                 16      objections are without merit.
                 17               The bankruptcy court has wide discretion over whether to allow fees. In re
                 18      Crown Oil, Inc., 257 B.R. 531, 541 (Bankr. D. Mont. 2000); In re Columbia Plastics,
                 19      Inc., 251 B.R. 580, 591 (Bankr. W.D. Wash 2000); In re Lewis, 113 F.3d 1040, 1046 (9th
                 20      Cir. 1997). Courts do not expect attorneys to succeed in every endeavor he undertakes
                 21      on behalf of the client. In re Crown Oil, Inc., 257 B.R. 531 (Bankr. D. Mont. 2000); In
                 22      re Hunt, 124 B.R. 253, 267 (Bankr. S. D. Ohio 1990). As the Ninth Circuit Bankruptcy
                 23      Appellate Panel wrote: “The applicant must demonstrate only that the services were
                 24      ‘reasonably likely to benefit the estate at the time the services were rendered.” Roberts,
                 25      Sheridan & Kotel, P.C. v. Bergen Brunswig Drug Co., (In re Mednet), 251 B.R. 103, 108
                 26      (9th Cir. BAP 2000).
                 27               The “benefit” to the estates is not restricted to only a monetary benefit. A
                 28      debtor’s counsel should be compensated for services performed in carrying out the
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                     1   requirements of the Bankruptcy Code and Rules. In re Crown Oil, Inc., 257 B.R. at 540;
                     2   Keate v. Miller (In re Kohl), 95 F.3d 713, 715 (8TH Cir. 1996); In re Holder, 207 B.R.
                     3   574, 584 (Bankr. M.D. Tenn 1997). It is therefore important to consider whether the
                     4   services rendered “promoted the bankruptcy process or administration of the estate in
                     5   accordance with the practice and procedures provided under the Bankruptcy Code and
                     6   Rules for the orderly and prompt disposition of the bankruptcy cases and related
                     7   adversary proceedings.” Crown Oil, 257 B.R. at 540; In re Holder, 207 B.R. at 584
                     8   (quoting In re Spanjer Bros., Inc., 203 B.R. 85, 90 (Bankr. N.D. Ill 1996)).
                     9            At the time Applicant undertook representation of the Debtors, Applicant believed
                 10      that filing the Debtors’ cases under Chapter 11 (rather than Chapter 7) was appropriate,
                 11      and that the Thomas Emerald could be sold and used to successfully fund a Chapter 11
                 12      plan of reorganization or liquidation. Applicant diligently and competently filed all
                 13      required documentation commencing and maintaining the Chapter 11 cases, and obtained
                 14      joint administration of the cases to avoid unnecessary duplication of services which
                 15      directly benefitted the estates.
                 16               Within three months after the commencement of the cases, the Debtors negotiated
                 17      what Applicant believed, based upon the representations of the Debtors and documents
                 18      provided, to be a viable sale of the emerald. Applicant in good faith filed the appropriate
                 19      motion and related documentation to obtain court approval of the sale. Applicant also
                 20      obtained a short extension to file and confirm plans pending approval of the sale.
                 21      Applicant believed these services were reasonably likely to benefit the Debtors’ estates.
                 22               After the sale motion was filed, Kenmark and Beach filed a motion to appoint a
                 23      Chapter 11 trustee, based upon their allegation that the Debtors’ were mismanaging their
                 24      estates because the proposed purchaser of the emerald would not allow Beach to inspect
                 25      the emerald during the pending sale. Applicant opposed the appointment of a Chapter 11
                 26      trustee on behalf of the Debtors because he believed that the appointment of a Chapter
                 27      11 trustee would be costly and burdensome to the estate, and therefore his services were
                 28      reasonably likely to benefit the estate. Although the court ultimately converted the cases,
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                     1   the Court did not approve the appointment of a Chapter 11 trustee.
                     2            The fact that cases were converted to Chapter 7 should also not deprive Applicant
                     3   of his compensation for services performed during the Chapter 11. It is well established
                     4   that it is not necessary to have a successful reorganization in order for a debtor’s counsel
                     5   to be awarded his fees. In re Crown Oil, Inc., 257 B.R. 531 (Bankr. D. Mont. 2000); In
                     6   re Berg, 268 B.R. 250 (Bankr. D. Mont. 2001). The fact that a Chapter 11 plan was not
                     7   ultimately confirmed does not, by itself, bar recovery of compensation for services
                     8   performed in the Chapter 11 case. Id.
                     9            Applicant did not delay the cases knowing that plans could not be confirmed. At
                 10      the time Applicant performed services on behalf of the Debtors, he believed that the
                 11      cases could be successfully reorganized. However, during the course of his
                 12      representation of the Debtors, Applicant and the Debtors’ communication eventually
                 13      broke down and the Debtors became very difficult to manage. As a result, Applicant
                 14      withdrew from both cases.
                 15               There has been no bad faith on Applicant’s part. There has also been no previous
                 16      allegations or findings that the Debtors themselves have acted in bad faith in filing for
                 17      Chapter 11 bankruptcy protection. Even if it was determined that the Debtors
                 18      mismanaged their estates, Applicant is not responsible for that conduct. See, In re
                 19      Crown Oil, Inc., 257 B.R. at 543 (Attorneys and other professionals should not
                 20      necessarily be blamed for lack of management and the lack of success of a Chapter 11
                 21      debtor).
                 22               WHEREFORE, based upon the foregoing, compensation to Applicant should be
                 23      approved.
                 24               DATED this 10th day of December, 2014.
                 25                                                                 LAW OFFICES OF ALAN R. SMITH
                                                                                          Holly E. Estes, Esq.
                 26                                                                 By___________________________________
                                                                                    HOLLY E. ESTES, ESQ.
                 27                                                                  Applicant/Former Counsel for Debtors
                 28
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